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                             UNITED STATES DISTRICT COURT
                               DISTRICT OF CONNECTICUT

JOHN DOE,                                                  :
                                                           :   Civil Action No:
                                                           :
                        Plaintiff,                         :
                                                           :
                                                           :
                -against-                                  :
                                                           :
                                                           :
YALE UNIVERSITY, YALE UNIVERSITY                           :
BOARD OF TRUSTEES,                                         :
                                                           :
                                                           :
                        Defendants.                        :
                                      ORDER TO SHOW CAUSE

       Upon consideration of the Plaintiffs’ Motion for a Temporary Restraining Order and a

Preliminary Injunction, including the Complaint, the Declaration of Plaintiff John Doe, the

Declaration of William B. Bilcheck, Jr. and the exhibits thereto and the Memorandum of Law in

support of Plaintiff’s Motion for a Temporary Restraining Order and a Preliminary Injunction,

       IT IS HEREBY ORDERED THAT Defendants Yale University and Yale University

Board of Trustees appear before the United States District Court for the District of Connecticut,

located at Richard C. Lee U.S. Courthouse, 141 Church Street, New Haven, Connecticut 06510,

Courtroom ____, on the day of _______________2018, and SHOW CAUSE why:

       1.       Defendants Yale University and Yale University Board of Trustees should not be

immediately enjoined from enforcing their December 26, 2017 suspension of Plaintiff John Doe

from Yale University.

       2.       Defendants Yale University and Yale University Board of Trustees should not be

immediately ordered to honor and give effect to Plaintiff John Doe’s registration for classes for

the Spring Semester which began on January 17, 2018 and to permit Plaintiff John Doe to
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participate fully in all University activities; and

        IT IS HEREBY FURTHER ORDERED THAT pending a final determination of

Plaintiff’s Motion for a Temporary Restraining Order and a Preliminary Injunction, Plaintiff

John Doe is to be given access to register for all classes for the Spring Semester which began on

January 17, 2018; and

        IT IS HEREBY FURTHER ORDERED THAT service of all the papers supporting

Plaintiff’s Motion for a Temporary Restraining Order and a Preliminary Injunction by e-mail

upon Harold Rose, Esq. in the General Counsel’s Office of Defendant Yale University on or

before 4:00 PM on January 19, 2018, shall constitute good and sufficient service.



                                                          _________________________
                                                          United States District Judge




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